        Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 1 of 7




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   Athletic Association
13

14                             UNITED STATES DISTRICT COURT
15            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

16

17 JOHN DOE 1, JOHN DOE 2, JOHN DOE 3,               Case No. 3:22-cv-01559-LB
   JOHN DOE 4, JOHN DOE 5, JOHN DOE 6,
18 JOHN DOE 7, JOHN DOE 8, JOHN DOE 9,               DEFENDANT NCAA’S REQUEST FOR
   JOHN DOE 10, JOHN DOE 11, and JOHN                APPLICATION OF THE
19 DOE 12, individually and on behalf of all         INCORPORATION BY REFERENCE
   others similarly situated,                        DOCTRINE OR JUDICIAL NOTICE OF
20                                                   DOCUMENTS IN SUPPORT OF
                   Plaintiffs,                       DEFENDANT’S MOTION TO DISMISS
21                                                   FIRST AMENDED CLASS ACTION
           vs.                                       COMPLAINT
22
   NATIONAL COLLEGIATE ATHLETIC                      [Filed Concurrently with Defendant NCAA’s
23 ASSOCIATION, THE UNIVERSITY OF                    Motion to Dismiss First Amended Class Action
   SAN FRANCISCO, ANTHONY N. (AKA                    Complaint and Declaration of Kristopher L.
24 NINO) GIARRATANO, and TROY                        Richardson in Support of Defendant NCAA’s
   NAKAMURA,                                         Motion to Dismiss First Amended Class Action
25                                                   Complaint]
                   Defendants.
26                                                   Judge: Hon. Magistrate Laurel Beeler
                                                     Trial Date: None Set
27                                                   Hearing Date: December 8, 2022
                                                     Hearing Time: 9:30 a.m.
28

                                                                 Case No. 3:22-cv-01559-LB
        DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
           Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 2 of 7




 1                   DEFENDANT NCAA’S REQUEST FOR APPLICATION
          OF THE INCORPORATION BY REFERENCE DOCTRINE OR JUDICIAL NOTICE
 2
     I.      INTRODUCTION
 3
             Defendant the National Collegiate Athletic Association (“NCAA”) respectfully requests
 4
     that the Court treat as incorporated by reference or take judicial notice of Exhibit 1 to the
 5
     Declaration of Kristopher L. Richardson (“Richardson Declaration” or “Richardson Decl.”) in
 6
     Support of Defendant the National Collegiate Athletic Association’s Motion to Dismiss
 7
     (“Motion,” “Motion to Dismiss,” or “Mot.”) the First Amended Class Action Complaint (“FAC”).
 8
     Exhibit 1 consists of excerpts of relevant sections of the NCAA Constitution, Operating Bylaws,
 9
     and Administrative Bylaws for NCAA Division I (collectively, the NCAA Division I Manual,
10
     hereinafter “Manual”) for 2021–2022 (“Manual”). The Manual is available on the NCAA’s
11
     website, 1 and Plaintiffs cite in the FAC to specific provisions of the Manual on the NCAA’s
12
     website. 2 See FAC ¶¶ 88 & n.52, 89–91 & nn.53–55, 94–96 & nn.57–58, 98, 124 n.93, 615, 617–
13
     620 & n.140, 632, 634 & n.141, 641, 657, 692, 694–697 & n.143, 711, 713 & n.144.
14
             As the NCAA explains in its Motion (see Mot. at 6 n.1, 13 n.6), this Court can and should
15
     consider the Manual in resolving the NCAA’s motion to dismiss the FAC for lack of personal
16
     jurisdiction and improper venue under Federal Rules of Civil Procedure 12(b)(2) and (3). Courts
17
     can consider evidence outside the pleadings in resolving motions to dismiss for lack of personal
18
     jurisdiction and venue. E.g., Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th
19
     Cir. 2011) (personal jurisdiction); Kurisu v. Svenhard Swedish Bakery Supplemental Key Mgmt.
20
     Ret. Plan, 2021 WL 2474439, at *2 (N.D. Cal. June 17, 2021) (citing Murphy v. Schneider Nat’l,
21
     Inc., 362 F.3d 1133, 1137 (9th Cir. 2004)) (venue). But the Court can also consider the Manual in
22
     resolving the NCAA’s motion to dismiss the FAC for failure to state a claim under Rule 12(b)(6)
23
     for two reasons: the Manual is incorporated into the FAC by reference, and it is judicially
24
     noticeable under Federal Rule of Evidence 201.
25

26
     See http://fs.ncaa.org.s3.amazonaws.com/Docs/Manuals/2021-22GOVD1_Manual.pdf.
     1
27   Because the Manual is lengthy and deals largely with matters not at issue in the litigation, the
     2

28 NCAA    provides only the relevant sections and only seek judicial notice or incorporation by
   reference of those relevant excerpts.
                                              -2-                   Case No. 3:22-cv-01559-LB
           DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
         Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 3 of 7




 1 II.      ARGUMENT
 2          On a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the Court may “consider certain

 3 materials—documents attached to the complaint, documents incorporated by reference in the

 4 complaint, or matters of judicial notice—without converting the motion to dismiss into a motion

 5 for summary judgment.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). Because the

 6 Manual is referenced extensively in the FAC and it forms the basis of several causes of action, this

 7 Court should treat it as incorporated into the FAC by reference.

 8          In the alternative, the Court should take judicial notice of the Manual under Federal Rule

 9 of Evidence 201. The Manual is “not subject to reasonable dispute” because its existence is a fact

10 that “can be accurately and readily determined from sources whose accuracy cannot reasonably be

11 questioned.” Fed. R. Evid. 201.
12          A.      The FAC Incorporates the Manual by Reference.

13          Under the incorporation by reference doctrine, “documents whose contents are alleged in a

14 complaint and whose authenticity no party questions, but which are not physically attached to the
15 pleading, may be considered in ruling on a Rule 12(b)(6) motion to dismiss.” Branch v. Tunnell,

16 14 F.3d 449, 454 (9th Cir. 1994), overruled in part on other grounds, Galbraith v. Cnty. of Santa

17 Clara, 307 F.3d 1119, 1123–24 (9th Cir. 2002). A “defendant may offer such a document, and the
18 district court may treat such a document as part of the complaint, and thus may assume that its

19 contents are true for purposes of a motion to dismiss under Rule 12(b)(6).” Ritchie, 342 F.3d at

20 908. Courts will treat a document as incorporated by reference if it forms the basis of the
21 plaintiff’s claims or if it is repeatedly referenced in the complaint. Parrino v. FHP, Inc., 146 F.3d

22 699, 706 (9th Cir. 1998), superseded by statute on other grounds as recognized in Abrego v. The

23 Down Chem. Co., 443 F.3d 676, 681 (9th Cir. 2006).
24          The incorporation-by-reference doctrine applies here. Plaintiffs’ FAC references and

25 purports to quotes extensively from the Manual. See, e.g., FAC ¶¶ 88 & n.52, 89–91 & nn.53–55,

26 94–95 & nn.57–58. The Manual (containing the NCAA’s Constitution and Bylaws) serves as the

27 basis for Plaintiffs’ negligence and contract-related claims. See, e.g., id. ¶¶ 641, 657 (alleging that

28 the NCAA had a duty to act partially arising from “[t]he NCAA’s Constitution and Bylaws”); id.

                                            -3-                   Case No. 3:22-cv-01559-LB
         DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
         Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 4 of 7




 1 ¶¶ 615, 617–621 & n.140 (“The Manual thus constitutes a contract between the NCAA and

 2 Plaintiffs . . . .”); id. ¶¶ 632–635 & n.141 (“As an express condition of its membership in the

 3 NCAA, each institution must agree to abide by its respective NCAA Division Manual, which

 4 expressly encompasses the NCAA Constitution, Operating Bylaws, and Administrative Bylaws.

 5 The Manual thus constitutes a contract between the NCAA and its member institutions. . . .

 6 Plaintiffs and the USF Baseball Subclass are third-party beneficiaries of the contract between the

 7 NCAA and its members . . . .”). However, Plaintiffs do not attach a copy of the Manual to the

 8 FAC. Instead, the FAC directs the Court to a website to find a copy of the Manual. Id. ¶ 88 &

 9 n.52.

10          The Court should treat the Manual, excerpts of which are attached as Exhibit 1 to the

11 Richardson Declaration, as incorporated by reference because it is quoted and referenced
12 extensively in the FAC and is available on the NCAA’s website, which is also cited in the FAC.

13 See, e.g., Parrino, 146 F.3d at 706 (court could deem health-plan document incorporated by

14 reference where complaint referenced the terms of the plan and plaintiff’s claims “rest[ed]” on
15 those terms, rendering the document “essential to his complaint”). Because Plaintiffs allege the

16 contents of the Manual, the full Manual is incorporated by reference even though Plaintiffs cite

17 only to some of its provisions. See Knievel v. ESPN, 393 F.3d 1068, 1076–77 (9th Cir. 2005)
18 (deeming full webpage incorporated by reference because complaint referenced parts of the

19 webpage, even though complaint did not reference other parts of webpage); Parrino, 146 F.3d at

20 706 (deeming document governing employee health plan incorporated by reference where
21 coverage claim was based on the contents and terms of the plan generally). This Court should

22 therefore consider the Manual’s contents in resolving the NCAA’s motion to dismiss under Rule

23 12(b)(6), in addition to considering it in resolving the NCAA’s motions under Rules 12(b)(2) and
24 (3). See, e.g., Sumotext Corp. v. Zoove, Inc., 2017 WL 2774382, at *6 (N.D. Cal. June 26, 2017)

25 (dismissing third-party-beneficiary claim as implausible because it was precluded by the language

26 of the underlying contract, which was incorporated by reference); Tessera, Inc. v. UTAC (Taiwan)

27 Corp., 2012 WL 1067672, at *1 n.1 (N.D. Cal. Mar. 28, 2012) (in suit for breach of contract,

28 deeming underlying contract not attached to the complaint as incorporated by reference); Lucky

                                            -4-                   Case No. 3:22-cv-01559-LB
         DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
         Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 5 of 7




 1 Leather, Inc. v. Mitsui Sumitomo Ins. Grp., 2013 WL 12139116, at *1 (C.D. Cal. Feb. 26, 2013)

 2 (in suit for breach of contract, deeming underlying contract incorporated by reference because it

 3 was referenced repeatedly throughout the complaint and formed the basis of two of plaintiff’s

 4 claims).

 5          Plaintiffs’ selective quotation from the Manual creates further policy grounds to treat it as

 6 incorporated by reference. “The doctrine prevents plaintiffs from selecting only portions of

 7 documents that support their claims, while omitting portions of those very documents that

 8 weaken—or doom—their claims.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th

 9 Cir. 2018). These concerns apply here. As discussed in the NCAA’s Motion to Dismiss,

10 Plaintiffs have extensively quoted from and referred to the Manual and rely on it to form the basis

11 of several of their causes of action, but Plaintiffs selectively quote the Manual, omitting portions
12 of it that accurately represent the relationship of the NCAA and its member institutions. See Mot.

13 at 31–32. In the FAC, Plaintiffs represent, for example, that the NCAA promised, for their

14 benefit, to require member institutions to “establish and maintain an environment that fosters a
15 positive relationship between the student-athlete and coach” and “establish and maintain an

16 environment in which a student-athlete’s activities are conducted as an integral part of the student-

17 athlete’s educational experience.” FAC ¶ 634(f)–(g). But Plaintiffs omit that the Manual in fact
18 states that it is “the responsibility of each member institution,” who oversees the day-to-day

19 operations of their respective athletic operations, to take those actions. See Richardson Decl., Ex.

20 1 at 2 (emphasis added) (NCAA Const. art. 2, §§ 2.2.1, 2.2.4). Read in its entirety without the
21 FAC’s selective omissions, the Manual makes clear that it is “the responsibility of each member

22 institution to protect the health of, and provide a safe environment for, each of its participating

23 student-athletes,” “to establish and maintain an environment that fosters a positive relationship
24 between the student-athlete and coach,” and “to establish and maintain an environment in which a

25 student-athlete’s activities are conducted as an integral part of the student-athlete’s educational

26 experience.” Id. (NCAA Const. art. 2, §§ 2.2.1, 2.2.4). Because the FAC mischaracterizes at least

27 some of the Manual provisions it purport to quote, treating the Manual as incorporated by

28 reference furthers the “policy concern” behind the incorporation-by-reference doctrine:

                                            -5-                   Case No. 3:22-cv-01559-LB
         DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
           Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 6 of 7




 1 “Preventing plaintiffs from surviving a Rule 12(b)(6) motion by deliberately omitting references

 2 to documents upon which their claims are based.” Parrino, 146 F.3d at 706. Because at least

 3 some of the FAC’s key references to the Manual are incomplete, recognizing that it is incorporated

 4 into the FAC by reference is appropriate.

 5            B.     The Manual Is Also Judicially Noticeable.
 6            Alternatively, this Court can and should take judicial notice of the Manual under Federal

 7 Rule of Evidence 201. “Judicial notice of contracts”—which is what Plaintiffs incorrectly contend

 8 the Manual is, see, e.g., FAC ¶ 632—“is proper when contracts are integral to the complaint and

 9 no party disputes the contracts’ identity and accuracy.” Am. Zurich Ins. Co. v. Country Villa Serv.

10 Corp., 2014 WL 12588687, at *4 (C.D. Cal. Oct. 2, 2014). As discussed above, the Manual forms

11 the basis of Plaintiffs’ negligence and contract-based claims.
12            The Manual is “not subject to reasonable dispute,” as its existence is a fact that “can be

13 accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”

14 Fed. R. Evid. 201. The Manual is publicly available on the NCAA’s website 3; courts often take
15 notice of publicly available websites. See Matthews v. Nat’l Football League Mgmt. Council, 688

16 F.3d 1107, 1113 (9th Cir. 2012) (taking judicial notice of facts on the NFL’s website). And the

17 NCAA has authenticated the Manual as an NCAA document by declaration. See Richardson Decl.
18 ¶¶ 10–11; see also, e.g., Knowles v. Pac. Gas & Elec. Co., 2007 WL 9711965, at *3 (N.D. Cal.

19 Nov. 29, 2007) (in suit for breach of contract, taking judicial notice of agreements authenticated

20 by declaration); McColgan v. Mut. of Omaha Ins. Co., 4 F. Supp. 3d 1228, 1232–33 (E.D. Cal.
21 2014) (in suit for breach of insurance agreement, taking judicial notice of “the operative policy

22 underlying the claims in this action and relied on in the Complaint” that defendant authenticated

23 through declaration); Clevenger v. Riviana Foods Inc., 2019 WL 8167916, at *3 (C.D. Cal. Oct.
24 22, 2019) (taking judicial notice of documents referenced in a complaint and holding that

25 declaration authenticating them was “a source whose accuracy cannot reasonably be questioned”).

26

27

28   3   See http://fs.ncaa.org.s3.amazonaws.com/Docs/Manuals/2021-22GOVD1_Manual.pdf.
                                              -6-                   Case No. 3:22-cv-01559-LB
           DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
          Case 3:22-cv-01559-LB Document 66 Filed 09/12/22 Page 7 of 7




 1          Moreover, the parties do not dispute the contents of the Manual or its “identity and

 2 accuracy,” Am. Zurich Ins., 2014 WL 12588687, at *4, but rather its independent legal effect. As

 3 such, the sections of the Manual cited in the NCAA’s Motion to Dismiss and attached to the

 4 Richardson Declaration are subject to judicial notice. See, e.g., In re Facebook, Inc. S’holder

 5 Derivative Priv. Litig., 367 F. Supp. 3d 1108, 1118 (N.D. Cal. 2019) (“A document which itself

 6 affects the legal rights of the parties is not introduced for the truth of the matter asserted because

 7 the significance of the offered statement lies solely in the fact that it was made.” (cleaned up)); In

 8 re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d 809, 829 (N.D. Cal. 2019) (taking judicial notice of

 9 policy referenced throughout complaint because plaintiffs disputed only “the legal effect of the

10 policy, which is outside the inquiry of judicial notice,” and “[i]t would be unfair for Plaintiffs to

11 reference this document to show the change in Facebook’s Data Policy and suppress the actual
12 policy”).

13 III.     CONCLUSION
14          For purposes of resolving the NCAA’s motion to dismiss for failure to state a claim under
15 Federal Rule of Civil Procedure 12(b)(6), this Court should apply the incorporation by reference

16 doctrine and consider the Manual as if it was attached to the FAC. Alternatively, the Court should

17 take judicial notice of the Manual.
18

19 DATED: September 12, 2022                     MUNGER, TOLLES & OLSON LLP

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21
                                                 By:     /s/ Carolyn Hoecker Luedtke
22                                               CAROLYN HOECKER LUEDTKE

23                                               Attorneys for Defendant The National Collegiate
                                                  Athletic Association
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                                             -7-                   Case No. 3:22-cv-01559-LB
          DEFENDANT NCAA’S REQUEST FOR INCORPORATION BY REFERENCE OR JUDICIAL NOTICE
